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                                        December 16, 2024
VIA ECF
Hon. John G. Koeltl
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007
       Re:    Banco San Juan Internacional, Inc. v. the Federal Reserve Bank of New York
       and the Board of Governors of the Federal Reserve System, No. 1:23-cv-6414 (JGK)
Dear Judge Koeltl:
       Further to the Court’s December 12, 2024 Order (ECF No. 147), on behalf of Plaintiff BSJI,
we respectfully submit this supplemental letter to address certain issues raised during argument on
Defendants’ Motions to Dismiss.
        First, Your Honor posed a question concerning a private right of action for BSJI’s due
process claim. 12/14/2024 Tr. (“Tr.”) at 12:2-13. The Depository Institutions Deregulation and
Monetary Control Act of 1980 (the “Monetary Control Act”)—which implemented Section 248a—
was recently interpreted to confer such a right. In National Association of Industrial Bankers et al.
v. Weiser et al., plaintiffs sought a preliminary injunction to preclude Colorado from enforcing an
interest rate law alleged to be preempted by the Monetary Control Act. No. 1:24-cv-00812 (D.
Colo. June 18, 2024), ECF No. 69. Defendants opposed, contending that no private right of action
existed under the governing statutory scheme. The court disagreed. Applying a Bivens analysis as
articulated in Davis v. Passman, 442 U.S. 228, 239-41 & n.18 (1979), the court found that the
statutory language, “phrased in terms of the persons benefited rather than focused on the persons
regulated,” evidenced the existence of a private right of action. Id. at 11. So too here in light of
Section 248a’s directive that “All Federal Reserve bank services covered by the fee schedule shall
be available to nonmember depository institutions.” 12 U.S.C. §248a. (emphasis added).
        Further to the point, in Custodia Bank, Inc. v. Federal Reserve Board of Governors, the
court determined that the plaintiff—which likewise brought suit to enforce its statutory right to a
master account under Section 248a—had sufficiently alleged a due process claim concerning this
right. 640 F. Supp. 3d 1169, 1186 (D. Wyo. 2022); see also Jet Courier Servs., Inc. v. Fed. Rsrv.
Bank of Atlanta, 713 F.2d 1221, 1228 (6th Cir. 1983) (noting, for purpose of a standing analysis,
that the Monetary Control Act was implemented to protect depository institutions). PayServices
Bank v. Federal Reserve Bank of San Francisco does not compel a different result since the court
did not address whether there was a private right of action under the Monetary Control Act in
relation to plaintiff’s due process claim, which was dismissed on separate grounds. 2024 WL
1347094 (D. Idaho Mar. 30, 2024).
        Second, the issue of the discovery following the Custodia court’s denial of defendants’
motions to dismiss relative to that permitted here to date came up. Tr. at 40:22-41:22. The
difference in scope is substantial. In the instant matter, BSJI was permitted to seek limited
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discovery concerning the FRBNY’s two decisional memoranda and communications between the
two Defendants concerning the same; this resulted in the production of four documents. In
Custodia, the Board produced the administrative record, and the Federal Reserve Bank of Kansas
City produced thousands of pages of documents. Order on Dispositive Motions, Custodia Bank,
Inc. v. Federal Reserve Board of Governors, No. 1:22-cv-00125 (Mar. 29, 2024), ECF No. 317.
The Custodia parties’ filings, which included hundreds of exhibits, likewise make clear that
additional discovery here would lead to the production of probative materials, including a
“Handbook to Implement the Account Access Guidelines,” which Guidelines the FRBNY relied
upon in stating that BSJI allegedly posed an “undue risk to the overall economy.” Moreover, the
FRBNY’s statement at oral argument that discovery did not inform the Custodia court’s summary
judgment ruling is incorrect: the Custodia court merely noted that no dispute of material fact
compelled denial of summary judgment, not that discovery proved to be unnecessary. Id. at 6-7.
        Third, the Court inquired whether the FRBNY can be restricted from exercising its asserted
“unfettered discretion” over master account access by virtue of the parties’ Master Account
Agreement. Tr. at 10:2; 20:7-14. Operating Circular No. 1, which is incorporated into the parties’
Master Account Agreement and includes language mirroring the implied covenant of good faith
and fair dealing, does just that. While unrelated third parties owe no analogous duty to one another,
the decision to enter into a contractual arrangement restrains the scope of permissible behavior.
Trireme Energy Holdings, Inc. v. Innogy Renewables US LLC, 2021 WL 3668092, at *4 (S.D.N.Y.
Aug. 17, 2021) (recognizing that the covenant of good faith and fair dealing is “implicit in every
contract”). Take an example. As a manufacturer, I may have discretion to sell my widgets to
whomever I choose. But once I enter into a distribution agreement with a particular buyer, that
discretion is circumscribed by the obligations (delivery responsibilities, exclusivity provisions, not
terminating the contract in bad faith, etc.) owed to the purchaser under that contract. As such,
assuming arguendo that FRBNY has statutory discretion to terminate master account access at
will—or, as the FRBNY boldly claims, its “motivation doesn’t matter” (Tr. at 10:2)—that
discretion nonetheless remains subject to those terms of its Master Account Agreement with BSJI.
         Fourth, with respect to intervening developments since the Court’s preliminary injunction
hearing (Tr. at 21:13-22:13), on information and belief, BSJI understands that nine of ten IBEs
owned by former Venezuelan nationals have lost their master accounts since January 2021,
seriously undermining Defendants’ pretextual proffered reasons for closure. See Am. Compl. ¶ 11.
Likewise, instances of disparate treatment by the Board and FRBNY as to large financial
institutions—like TD Bank, which pled guilty to a billion-dollar money laundering conspiracy yet
did not lose master account access—and small IBEs like BSJI, whose access was terminated on
wholly specious grounds, have only increased. These intervening developments merit the
opportunity to take discovery on the issue of good faith.
       Fifth, concerning the discussion of correspondent banking (Tr. at 44:17-45:3), even if
Section 248a could be read to dictate only pricing parity for members and non-members, the denial
of master accounts belies that mandate. Forcing depository institutions to rely on correspondent
banking relationships—assuming one could be found and blessed by the FRBNY, which has been
an impossibility for BSJI—(i) exposes a nonmember to significant additional costs given the hefty
fees correspondent banks charge and (ii) subverts Congressional intent with respect to Section
248a’s equal pricing directive.
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                                              Respectfully submitted,

                                              /s/ Abbe David Lowell

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